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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA, et al,
Plaintiffs,

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Vv. ) Civil Case No. 18-2340 (RJL)
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CVS HEALTH CORPORATION, etal, — )

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Defendants.

ORDER ~
May 1G 2019

On May 15, 2019, CVS Health Corporation (“CVS”) filed an unopposed
Motion to Reschedule the Tunney Act Hearing [Dkt. #91] in this case. The
Tunney Act hearing is currently set to begin on June 4 and to end no later than
June 6. In support of its motion, CVS explains that two of its attorneys also
represent CVS in a matter set for a three-week trial, starting on June 3, in Texas.

While the Court may be inclined, in some cases, to postpone a Tunney Act
hearing to accommodate counsel, several considerations particular to this case
require that the June 4 hearing proceed as scheduled. First, according to CVS’s
motion, the scheduling conflict affects only two of the seven attorneys who have
appeared for CVS in this matter, and CVS has confirmed that, despite the conflict,
it can be fully prepared to proceed with the Tunney Act hearing on June 4.

Second, the June 4 hearing will consist only of direct witness testimony, which

 

 
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will be transcribed. Attorneys will not be needed to cross-examine witnesses or
make summary arguments. Third, the Court has received no information
suggesting that any witness i unavailable to testify on June 4, 5, or 6. Fourth,
granting any postponement of the Tunney Act hearing will require a substantial
adjustment to the case schedule. Given the representations from the parties in
CVS’s motion and the Court’s own schedule, the Tunney Act hearing would need
to be delayed until at least late July, if it does not go forward in early June.
Finally, and most critically, the importance of this case to the parties, the
healthcare industry, and healthcare consumers weighs heavily in favor of
proceeding expeditiously. Put simply, all interested parties deserve to learn the
results of this Court’s Tunney Act review as quickly as is feasible.

In light of all of these considerations, it is hereby

ORDERED that CVS’s Motion to Reschedule the Tunney Act Hearing
[Dkt. # 91] is DENIED; the Tunney Act hearing remains set for 10:30 am on June
4, 2019, in Courtroom 18, and the hearing shall conclude no later than 5:30 pm on
June 6, 2019.

SO ORDERED.

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RICHARD.JLEON
United States District Judge

 

 

 
